       Case 22-00055-ELG            Doc 24    Filed 03/30/22 Entered 03/30/22 14:10:40    Desc Main
                                             Document      Page 1 of 2
The order below is hereby signed.

Signed: March 30 2022




                               IN THE UNITED STATES BANKRUPTCY COURT
                                    FOR THE DISTRICT OF COLUMBIA

        In re:                                       )            Case No. 22-55-ELG
                                                     )            (Chapter 11)
        ENOVATIONAL CORP.                            )
                                                     )
                        Debtor.                      )

                     ORDER REJECTING OFFICE LEASE AGREEMENT BY AND
                  BETWEEN TMG 1400 L STREET, L.L.C. AND ENOVATIONAL CORP.

                 Upon consideration of the Motion to Reject Officer Lease Agreement By and Between

        TMG 1500 L Street, L.L.C. and Enovational Corp. (the “Motion,” as found at DE #3) filed by

        Enovational Corp. (the “Debtor”), any opposition thereto, arguments and evidence adduced at a

        hearing on March 29, 2022, governing law, and the record herein, it is, by the United States

        Bankruptcy Court for the District of Columbia, hereby:

                 ORDERED, that the Motion be, and hereby is, GRANTED; and it is further

                 ORDERED, that the Office Lease Agreement By and Between TMG 1400 L Street, L.L.C.

        and Enovational Corp. be, and hereby is, REJECTED, with such rejection being effective as of

        March 26, 2022.




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Case 22-00055-ELG     Doc 24    Filed 03/30/22 Entered 03/30/22 14:10:40   Desc Main
                               Document      Page 2 of 2



I ask for this:

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